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1:06CR18-001 - VINCE BERNARD DIXON


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case # 1:06CR18-001

VINCE BERNARD DIXON
                                                              USM # 20421-017

                                                              Defendant’s Attorney:
                                                              Thomas Miller (AFPD)
                                                              101 SE 2nd Place, Suite 112
                                                              Gainesville, FL 32601
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count One of the Indictment on November 21, 2006. Accordingly, IT
IS ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

       TITLE/SECTION                          NATURE OF               DATE OFFENSE
          NUMBER                               OFFENSE                 CONCLUDED                COUNT

 21 U.S.C. §§ 841(a),             Conspiracy to Distribute and to      March 3, 2006             One
 841(b)(1)(A)(iii) and 846        Possess With Intent to
                                  Distribute More Than 50 Grams
                                  of Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts 2 through 4 dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.


                                                              Date of Imposition of Sentence:
                                                              April 27, 2007



                                                              s/Maurice M. Paul
                                                              MAURICE M. PAUL
                                                              SENIOR UNITED STATES DISTRICT JUDGE
                                                              May 1, 2007
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                                                       PROBATION

       The defendant is hereby placed on probation for a term of Five (5) years. The first year
of probation will include Home Confinement.

          The O/R bond is exonerated.


        While on probation, the defendant shall not commit another federal, state, or local crime and
shall not illegally possess a firearm, ammunition, or destructive device. The defendant shall also
comply with the standard conditions that have been adopted by this court (set forth below). If this
judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the
defendant pay any such fine or restitution.

       For offenses committed on or after September 13, 1994: The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from placement on probation and at least two periodic drug tests thereafter, as
directed by the probation officer.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;
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8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.


                              ADDITIONAL CONDITIONS OF PROBATION

          The defendant shall also comply with the following additional conditions of probation:

                    The defendant shall not own or posses a firearm, dangerous weapon or destructive
                    device.

                    The defendant shall participate in the home confinement program for a period of one
                    (1) year. During this time, the defendant will remain at his place of residence except
                    for employment and other activities approved in advance by the supervising U.S.
                    Probation Officer. The defendant will be subject to the standard conditions of home
                    confinement adopted for use in the Northern District of Florida. Home confinement
                    will include electronic monitoring with the cost of such monitoring to be paid by the
                    government.

                    The defendant shall abide by a curfew of 9:00 p.m. to 6:00 a.m. daily, which may be
                    modified for work purposes.
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                    The defendant shall not consume or possess any alcoholic or intoxicating beverages
                    or frequent any place where alcoholic beverages are sold or consumed except
                    grocery stores or restaurants.

                    The defendant shall not operate any motor vehicle without possessing a valid
                    driver’s license.

                    The defendant shall participate in a program of drug and/or alcohol testing,
                    treatment and counseling which may include inpatient treatment.

                    The defendant shall participate in mental health counseling.

                    The defendant shall cooperate with the Probation Office and/or the Florida
                    Department of Revenue’s Child Support Enforcement Program in the establishment
                    and enforcement of child support payments. Additionally, the defendant shall
                    reimburse the Department of Revenue for any AFDC paid to any of his children. The
                    defendant shall contribute 25% of his net income toward any current child support,
                    child support arrearages and/or AFDC paid out to his children. Any child support
                    paid directly to the custodial parent will not be credited

                    The defendant shall remain gainfully employed or actively seek employment while
                    under supervision.


                  Upon a finding of a violation of probation or supervised release, I understand the
          Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
          conditions of supervision.
                  These conditions have been read to me. I fully understand the conditions and have
          been provided a copy of them.




                    Defendant                                                        Date




                    U.S. Probation Officer/Designated Witness                        Date
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                                          CRIMINAL MONETARY PENALTIES


                 All criminal monetary penalty payments, except those payments made through the
          Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk,
          U.S. District Court, unless otherwise directed by the Court. Payments shall be made
          payable to the Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322,
          Tallahassee, FL 32301-7717. Payments can be made in the form of cash if paid in person.

                   The defendant shall pay the following total criminal monetary penalties in
          accordance with the schedule of payments set forth in the Schedule of Payments. The
          defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine
          or restitution is paid in full before the fifteenth day after the date of judgment, pursuant to
          18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments may be
          subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
                   Special
             Monetary Assessment                             Fine                     Restitution
                        $100.00                             NONE                        NONE




                                        SPECIAL MONETARY ASSESSMENT

          A special monetary assessment of $100.00 is imposed.

          No fine imposed.

          No restitution imposed.
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                                                SCHEDULE OF PAYMENTS

          Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
          federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest;
          (7) penalties in full immediately

          The defendant must notify the court of any material changes in the defendant’s economic
          circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice
          of a change in the defendant’s economic condition, the Court may adjust the installment
          payment schedule as the interests of justice require.

          Special instructions regarding the payment of criminal monetary penalties pursuant to 18
          U.S.C. § 3664(f)(3)(A):

          Unless the court has expressly ordered otherwise above, if this judgment imposes a period
          of imprisonment, payment of criminal monetary penalties shall be due during the period of
          imprisonment. In the event the entire amount of monetary penalties imposed is not paid
          prior to the commencement of supervision, the U.S. probation officer shall pursue collection
          of the amount due. The defendant will receive credit for all payments previously made
          toward any criminal monetary penalties imposed.
